
233 S.E.2d 921 (1977)
292 N.C. 466
Alice M. BATISTE
v.
AMERICAN HOME PRODUCTS CORPORATION, a Delaware Corporation, et al.
Supreme Court of North Carolina.
April 5, 1977.
Mraz, Aycock, Casstevens &amp; Davis, for plaintiff.
Golding, Crews, Meekins, Gordon &amp; Gray (Ritchie), Hartsell, Hartsell &amp; Mills (Pikes Drug Store), for defendants.
Petition by plaintiff for discretionary review under GS 7A-31. 32 N.C.App. 1, 231 S.E.2d 269. Denied.
